
705 S.E.2d 393 (2011)
STATE of North Carolina
v.
Stevie WILLIAMS.
No. 522P10-2.
Supreme Court of North Carolina.
February 11, 2011.
Stevie Williams, for Williams, Stevie.
Derrick Charles Mertz, Assistant Attorney General, for State of North Carolina.
G. Dewey Hudson, District Attorney.

ORDER
Upon consideration of the application filed by Defendant on the 8th of February 2011 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Sampson County:
"Denied by order of the Court in conference, this the 11th of February 2011."
